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David T. Pfund, Esq. - Attorney ED #: 039431991

Pfund McDonnell, P.C.

139 Prospect Street, 2"! Floor

Ridgewood, NJ 07450

(201) 857-5040

Attorneys for Defendants, Borough of Wallington, Witold Baginski and Sean Kudlacik

 

Plaintiff(s) UNITED STATES DISTRICT COURT
JOSEPH FEHL DISRICT OF NEW JERSEY
vs. CIVIL ACTION NO. 2:17 ev 11462
(JLL-JAD)
Defendant(s)

BOROUGH OF WALLINGTON, WITOLD
BAGINSKI, an individual and official
capacity as Business Administrator of
Wallington, SEAN KUDLACIK, BERGEN
COUNTY PROSECUTOR’S OFFICE,
JOHN AND JANE DOE 1-10

ANSWER, CROSSCLAIMS, SEPARATE
DEFENSES, REQUEST FOR DAMAGES,
JURY DEMAND, DESIGNATION OF
TRIAL COUNSEL, AND
CERTIFICATION

 

Defendants, Borough of Wallington, Witold Baginski and Sean Kudlacik, by way of

Answer to the Complaint filed herein, hereby says:

INTRODUCTION
1. These Defendants deny the allegations contained in this paragraph.
PARTIES
2, These Defendants have insufficient knowledge at this time upon which to form a

belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.
3. These Defendants deny the allegations contained in this paragraph.

4, These Defendants deny the allegations contained in this paragraph.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 

 
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5. These Defendants deny the allegations contained in this paragraph.

6. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

7. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his

proofs.

JURISDICTION AND VENUE
8. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.
9, These Defendants have insufficient knowledge at this time upon which to form a

belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his

 

proofs.
10. These Defendants deny the allegations contained in this paragraph.
11, These Defendants admit the aliegations contained in this paragraph.
FACTUAL BACKGROUND
12. These Defendants have insufficient knowledge at this time upon which to form a

belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his

proofs.

answer with crossctaims (civil rights violations, unlawful arrest, retaliation)

 

 
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13. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and ieaves Plaintiff to his
proofs.

14. | These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his

proofs.

 

15. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

16. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

17. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

18, These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

19, These Defendants deny the allegations contained in this paragraph.

20. These Defendants deny the allegations contained in this paragraph.

21. These Defendants deny the allegations contained in this paragraph.

22. These Defendants deny the allegations contained in this paragraph.

23. These Defendants deny the allegations contained in this paragraph.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 

 
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These Defendants have insufficient knowledge at this time upon which to form a

the truth of the allegations contained in this paragraph, and leaves Plaintiff to his

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These Defendants deny the allegations contained in this paragraph.

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answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 

 
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33. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs,

34. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

35, These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

36. These Defendants deny the allegations contained in this paragraph.

37. These Defendants deny the allegations contained in this paragraph.

38. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

39, These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

40. | These Defendants have insufficient knowledge at this time upon which to form a
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proofs.

41. | These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his

proofs.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation}

 

 
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42. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

43. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

44. | These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
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45, These Defendants have insufficient knowledge at this time upon which to form a
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46, These Defendants have insufficient knowledge at this time upon which to form a
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47, These Defendants have insufficient knowledge at this time upon which fo form a
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proofs.

48. | These Defendants have insufficient knowledge at this time upon which to form a
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proofs.

answer with crossciaims (civil rights violations, unlawful arrest, retaliation)

 

 
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49, These Defendants have insufficient knowledge at this ttme upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

50. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

51. These Defendants have insufficient knowledge at this time upon which to form a
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proofs.

52. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

53. These Defendants deny the allegations contained in this paragraph.

54. These Defendants deny the allegations contained in this paragraph.

55. These Defendants deny the allegations contained in this paragraph.

56. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

57, These Defendants deny the allegations contained in this paragraph.

58. | These Defendants deny the allegations contained in this paragraph.

59. These Defendants deny the allegations contained in this paragraph.

60. These Defendants deny the allegations contained in this paragraph.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 

 
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61. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

62. These Defendants have insufficient knowledge at this time upon which to form a

 

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proofs,

63. These Defendants have insufficient knowledge at this time upon which to form a
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64, These Defendants have insufficient knowledge at this time upon which to form a
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66. These Defendants have insufficient knowledge at this time upon which to form a
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67. These Defendants have insufficient knowledge at this time upon which to form a
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answer with crossclaims (civil rights violations, unlawful arrest, retaliation}

 

 
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proofs.

proofs.

proofs.

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74, These Defendants deny the allegations contained in this paragraph.

proofs.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 

68. These Defendants have insufficient knowledge at this time upon which to form a

belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his

69. These Defendants have insufficient knowledge at this time upon which to form a

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70. These Defendants have insufficient knowledge at this time upon which to form a

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71. These Defendants have insufficient knowledge at this time upon which to form a

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72. These Defendants have insufficient knowledge at this time upon which to form a

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73. These Defendants have insufficient knowledge at this time upon which to form a

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75. These Defendants have insufficient knowledge at this time upon which to form a

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76. These Defendants deny the allegations contained in this paragraph.

77. | These Defendants deny the allegations contained in this paragraph.

78. These Defendants deny the allegations contained in this paragraph.

79, These Defendants deny the allegations contained in this paragraph.

80. | These Defendants deny the allegations contained in this paragraph.

81. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

82. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

83. These Defendants have insufficient knowledge at this ime upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

84, These Defendants deny the allegations contained in this paragraph.

85. These Defendants deny the allegations contained in this paragraph.

86. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

87. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his

proofs.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 
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88. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

89. These Defendants have insufficient knowledge at this time upon which to form a
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proofs.

90. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

91. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

92. These Defendants have insufficient knowledge at this time upon which to form a
belief as to the truth of the allegations contained in this paragraph, and leaves Plaintiff to his
proofs.

93. These Defendants deny the allegations contained in this paragraph.

94. These Defendants deny the allegations contained in this paragraph.

COUNTI
False Arrest
95. These Defendants repeat and reiterate each and every answer to the allegations
contained in the previous paragraphs of the Complaint as if set forth herein at length and verbatim.

96. These Defendants deny the allegations contained in this paragraph.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 
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97.

98.

99.

100.

101.

These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.

These Defendants deny the allegations contained in this paragraph.

COUNT I
False Arrest

These Defendants repeat and reiterate each and every answer to the allegations

contained in the previous paragraphs of the Complaint as if set forth herein at length and verbatim.

102.

103.

104.

105,

106.

107,

These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.

These Defendants deny the allegations contained in this paragraph.

COUNT Hil
Malicious Prosecution

These Defendants repeat and reiterate each and every answer to the allegations

contained in the previous paragraphs of the Complaint as if set forth herein at length and verbatim.

108.

109,

110,

111.

These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.

These Defendants deny the allegations contained in this paragraph.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 
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112,

113.

114,

115.

These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.

These Defendants deny the allegations contained in this paragraph.

COUNT IV
Malicious Prosecution

These Defendants repeat and reiterate each and every answer to the allegations

contained in the previous paragraphs of the Complaint as if set forth herein at length and verbatim.

116.

117.

118.

119,

120,

121.

122.

123.

These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph,
These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.
These Defendants deny the allegations contained in this paragraph.

These Defendants deny the allegations contained in this paragraph.

COUNT V
Policy of Inadequate Training or Supervision

These Defendants repeat and reiterate each and every answer to the allegations

contained in the previous paragraphs of the Complaint as if set forth herein at length and verbatim.

124-128. The allegations asserted in this count seemingly do not apply to these answering

Defendants.

If any of the allegations are directed towards these answering Defendants the

allegations are hereby denied.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 
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COUNT VI
Abuse of Process
129. These Defendants repeat and reiterate each and every answer to the allegations
contained in the previous paragraphs of the Complaint as if set forth herein at length and verbatim.
130. These Defendants deny the allegations contained in this paragraph.
131. These Defendants deny the allegations contained in this paragraph.
132. These Defendants deny the allegations contained in this paragraph.

133. These Defendants deny the allegations contained in this paragraph.

COUNT VII
42 U.S.C, § 1983
134. These Defendants repeat and reiterate each and every answer to the allegations
contained in the previous paragraphs of the Complaint as if set forth herein at length and verbatim.
135, These Defendants admit the allegations contained in this paragraph.
136. These Defendants admit/deny the allegations in part.
137. These Defendants deny the allegations contained in this paragraph.
138. These Defendants deny the allegations contained in this paragraph.
139. These Defendants deny the allegations contained in this paragraph.
140. These Defendants deny the allegations contained in this paragraph,
141. These Defendants deny the allegations contained in this paragraph.

142. These Defendants deny the allegations contained in this paragraph.

143. These Defendants deny the allegations contained in this paragraph.

answer with crossclaims {civil rights violations, unlawful arrest, retaliation)

 
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COUNT Vil
New Jersey Civil Rights Act
144. These Defendants repeat and reiterate each and every answer to the allegations
contained in the previous paragraphs of the Complaint as if set forth herein at length and verbatim.

145. These Defendants admit the allegations contained in this paragraph.

146. These Defendants deny the allegations contained in this paragraph.

147. These Defendants deny the allegations contained in this paragraph.

148. These Defendants deny the allegations contained in this paragraph.

149. These Defendants deny the allegations contained in this paragraph.

150. These Defendants deny the allegations contained in this paragraph.

151. These Defendants deny the allegations contained in this paragraph.

152. These Defendants deny the allegations contained in this paragraph.

COUNT VIII (incorrectly numbered in Complaint)
42 U.S.C. § 1983
Municipal Liability
153. These Defendants repeat and reiterate each and every answer to the allegations
contained in the previous paragraphs of the Complaint as if set forth herein at length and verbatim.
154. These Defendants deny the allegations contained in this paragraph.
155. These Defendants deny the allegations contained in this paragraph.
156, These Defendants deny the allegations contained in this paragraph.

157. These Defendants deny the allegations contained in this paragraph.

answer with crossclaims (civil rights violations, unlawful arrest, retalialion}

 
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158. These Defendants deny the allegations contained in this paragraph.

FIRST SEPARATE DEFENSE,
Plaintiffs common law claims are barred by the application of the New Jersey Tort

Claims Act, N.J.S.A, 59:1-1 et. seq.

SECOND SEPARATE DEFENSE
Plaintiff cannot prove a violation by these Defendants of a clearly-established

constitutional or statutory right.

THIRD SEPARATE DEFENSE
The conduct of these Defendants in the matter at bar was “objectively reasonable” under the

Fourth and Fourteenth Amendment.

FOURTH SEPARATE DEFENSE
Plaintiff's causes of action, or some of them, are barred by the conduct of Plaintiff,

which constitutes estoppels.
FIFTH SEPARATE DEFENSE

Plaintiff has failed to comply with the Notice of Claims provisions at N.J.S.A, 59:8-3 and 8-

8 and, as a result thereof, is forever barred from making any state common law claims.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 

 
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SIXTH SEPARATE DEFENSE
At all times relevant hereto Defendants acted within the scope of their lawful authority or

apparent authority.

SEVENTH SEPARATE DEFENSE
These Defendants did not unlawfully or intentionally violate the civil rights of Plaintiff

pursuant to the United States Constitution.

EIGHTH SEPARATE DEFENSE
These Defendants did not unlawfully or intentionally violate the civil rights of Plaintiff

pursuant to the State of New Jersey.

NINTH SEPARATE DEFENSE
Even if Plaintiff can prove a violation by the Defendants of a clearly-established
constitutional or statutory right, the Defendants are still entitled to qualified or good faith immunity
because Defendants reasonably believed their conduct to be lawful. Good v, Pumpkin County, 891

F.2d. 1087, 1092 (3 Cir. 1989).

TENTH SEPARATE DEFENSE
The conduct of the Defendants in the matter at bar was “objectively reasonable” under the
Fourth Amendment and under the New Jersey Constitution because Plaintiff was lawfully arrested

and was lawfully detained on the basis of adequate and sufficient probable cause.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 
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ELEVENTH SEPARATE DERENSE
Any injuries or damages allegedly sustained by Plaintiff were caused solely through the acts

of omission or commission of Plaintiff.

TWELFTH SEPARATE DEFENSE
Atall times relevant hereto Defendants had acted within the scope of their lawful authority

or apparent authority.

THIRTEENTH SEPARATE DEFENSE
Plaintiff's demand for punitive damages is barred since the Defendants actions were never

willful, malicious or knowingly outside the scope of their office.

FOURTEENTH SEPARATE DEFENSE

These Defendants did not unlawfully retaliate against Plaintiff.

FIFTEENTH SEPARATE DEFENSE
These Defendants reserve the right to assert additional defenses upon completion of

Discovery and Investigation.

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 

 
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CROSSCLAIM FOR CONTRIBUTION
Defendants, Borough of Wallington, Witold Baginski and Sean Kudlacik, demands
contribution from Co-Defendants under the provisions of the New Jersey Joint Tortfeasors
Contribution Act, NLS.A. 2A:53A-1 et seq., and the Comparative Negligence Act, N.JS.A.

2A:15-1 et seq.

CROSSCLAIM FOR COMMON LAW INDEMNIFICATION
AND REIMBURSEMENT

While Defendants, Borough of Wallington, Witold Baginski and Sean Kudlacik, deny any
negligence or legal duty in this case, in the event these Defendants are adjudged responsible, such
liability would be solely vicarious, imputed, secondary or technical, while the negligence of Co-
Defendants would be the active and primary basis for Plaintiff's injuries and damages.

WHEREFORE, Defendants demand judgment for common law indemnification against

Co-Defendants, plus interest and costs of suit.

ANSWER TO CROSSCLAIMS
Defendants, Borough of Wallington, Witold Baginski and Sean Kulacik, herein and hereby
deny each and every allegation of any crossclaim filed or to be filed in this matter, and leaves any

and all Co-Defendants to their proofs.

REQUEST FOR DAMAGES

You are hereby requested and required to furnish the undersigned, within five (5) days a

written statement of the amount of damages claimed in this action.

answer with cross¢laims (civil rights violations, unlawful arrest, retaliation)

 

 
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JURY DEMAND

Please take notice that demand is hereby made for trial by jury on all issues so triable.

DESIGNATION OF TRIAL COUNSEL

Pursuant to R. 4:25-4, David T. Pfund, Esq. is designated as Trial Counsel.

CERTIFICATION
I hereby certify that: (1) the within matter in controversy is not the subject of any other
action pending in any other court or arbitration; (2) no other action or arbitration proceeding is
contemplated, and (3) no other necessary party to be joined in the subject litigation is presently
known,
I hereby certify that the foregoing pleading has been electronically filed and served within

the time provided by the court rules.

PFUND MCDONNELL, P.C.

Attorneys for Defendants,

Borough of Wallington, Witold Baginski and
Sean Kudlacik

By:__s/ David T. Pfund (0023)
DAVID T, PFUND, ESQ.
Dated: April 10, 2018

answer with crossclaims (civil rights violations, unlawful arrest, retaliation)

 

 
